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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                          No: 23-3041

                                    United States of America

                                                     Appellee

                                                v.

                                       Rolando E. Midder

                                                     Appellant


______________________________________________________________________________

           Appeal from U.S. District Court for the District of Nebraska - Omaha
                                 (8:22-cr-00157-RFR-1)
______________________________________________________________________________

                                             ORDER

       Appellant has submitted a pro se motion for an extension of time to file his opening brief.

Appellant is represented by appointed counsel, and all requests for additional time must be filed

counsel. Appellant’s pro se motion is denied. The brief remains due January 4, 2024.



                                                      December 15, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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